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12
                       UNITED STATES DISTRICT COURT
13                FOR THE EASTERN DISTRICT OF WASHINGTON

14
     STATE OF WASHINGTON, et al.,              No. 1:23-cv-03026
15
                               Plaintiffs,     DEFENDANTS’ REPLY IN
16                                             SUPPORT OF CROSS-MOTION FOR
            v.                                 SUMMARY JUDGMENT
17
     U.S. FOOD AND DRUG                        With Oral Argument: TBD (see ECF
18   ADMINISTRATION, et al.,                   No. 153)

19                             Defendants.

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 1                                    INTRODUCTION

 2      Since mifepristone was approved nearly a quarter century ago, the drug has

 3 been subject to restrictions, or “elements to assure safe use” (ETASU). These

 4 restrictions guard against risks relating to heavy bleeding, missed ectopic

 5 pregnancy, and other issues. In December 2021, the U.S. Food and Drug

 6 Administration (FDA) found insufficient evidence to eliminate mifepristone’s Risk

 7 Evaluation and Mitigation Strategy (REMS), including the ETASU, in its entirety.

 8 FDA instead directed mifepristone’s sponsors to propose more limited

 9 modifications to the REMS, which were approved in 2023. See 21 U.S.C. § 355-

10 1(g)(4)(B). Plaintiffs challenge that determination, but FDA’s opening brief

11 explained why the agency is entitled to summary judgment. ECF No. 170 (FDA

12 MSJ). Plaintiffs’ opposition (ECF No. 179 (Pl. Opp’n)) fails to show otherwise.

13      First, Article III’s standing requirement bars most of the Plaintiffs from

14 pursuing their claims. Of the 18 plaintiff States, 17 did not meet their burden at

15 summary judgment to establish standing through declarations or other admissible

16 evidence. At most, one State—Washington—has standing, based solely on the

17 University of Washington’s (UW’s) compliance costs. Any relief should be limited

18 to redressing that narrow injury, which Washington alleges it suffers only in its

19 capacity as operator of UW’s pharmacy. Contra Pl. Opp’n 34-35.

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 1      Second, Plaintiffs concede that they did not seek relief from the agency through

 2 a citizen petition as required by regulation. And they fail to establish that FDA’s

 3 position “appear[ed] already set,” as required to establish futility. Vasquez-

 4 Rodriguez v. Garland, 7 F.4th 888, 896 (9th Cir. 2021) (quoting Szonyi v. Barr,

 5 942 F.3d 874, 891 (9th Cir. 2019)). For example, they have not shown that FDA

 6 would have rejected their arguments about the Canadian study, which was not even

 7 published at the time FDA decided what modifications to direct the sponsors of

 8 mifepristone to propose.

 9      Third, none of Plaintiffs’ Administrative Procedure Act claims survives

10 scrutiny. FDA did not fail to consider relevant statutory factors (Pl. Opp’n 14-17)

11 because the six factors in 21 U.S.C. § 355-1(a)(1) that Plaintiffs cite are

12 inapplicable to a REMS modification decision. And, contrary to Plaintiffs’

13 contentions, FDA’s finding that there was insufficient evidence of safety to

14 eliminate all of the ETASU satisfied § 355-1(f).

15      Plaintiffs also do not identify any relevant record evidence (Pl. Opp’n 18-26)

16 that FDA failed to consider. The Canadian study was not published until after FDA

17 completed its literature review and directed the sponsors to seek approval of

18 narrower modifications. Nor was the study subsequently cited to the agency in

19 connection with its REMS review. And while Plaintiffs criticize FDA’s focus on

20 “objective safety data” on the ground that “safety is not the only statutorily

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 1 required consideration,” Pl. Opp’n 19, they do not explain how, absent a showing

 2 of safety, FDA could approve a change to a drug’s conditions of approval.

 3      Nor do Plaintiffs identify any flaw in FDA’s reasoning. Plaintiffs assume that

 4 no ETASU are needed for Mifeprex (or its generic version) because none are

 5 needed for Korlym. Pl. Opp’n 27-28. But the conditions of use of Korlym are

 6 different than those of Mifeprex and its generic in important ways. Beyond that,

 7 Plaintiffs err by disregarding (Pl. Opp’n 26-27, 29-33) how FDA, in 2023, did not

 8 write on a blank slate. The agency had already determined, several times over

 9 many years, that a REMS with ETASU is necessary—decisions unchallenged by

10 Plaintiffs. The sole final agency action at issue is the January 2023 REMS

11 Modification, which arose from FDA’s most recent REMS review. ECF No. 35

12 (Am. Compl.) ¶¶ 258, 262, 265. And the narrow question before FDA in that

13 review was whether evidence post-2016 warranted a departure from earlier

14 assessments that certain ETASU are necessary. Because Plaintiffs misconstrue the

15 question before FDA, their attempt to undermine the reasonableness of the

16 agency’s reasoning falls short.

17      Fourth, Plaintiffs’ constitutional claims (Pl. Opp’n 33-34) are baseless. As

18 Plaintiffs concede, States have no rights under the Fifth Amendment. To avoid the

19 consequence of that concession, Plaintiffs now assert that they have third-party

20 standing to assert the constitutional rights of “staff and students at the University of

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 1 Washington.” But the Amended Complaint lacks any allegation that Plaintiffs are

 2 suing on behalf of UW’s staff and students. In any event, Plaintiffs have not shown

 3 that third-party standing would be appropriate here.

 4                                       ARGUMENT

 5     I. Washington Is The Only Proper Plaintiff

 6      All Plaintiffs but one failed to establish that they are entitled to seek judicial

 7 relief in this case. “Article III controls not only who may have access to federal

 8 courts at the threshold of the litigation, but also who may obtain a judgment.”

 9 Legal Aid Soc. of Alameda Cty. v. Brennan, 608 F.2d 1319, 1333 n.26 (9th Cir.

10 1979). Thus, “each plaintiff” who seeks to obtain a favorable judgment must

11 establish standing. Valley Forge Christian College v. Ams. United for Separation of

12 Church & State, Inc., 454 U.S. 464, 472 (1982) (citations omitted). A district court

13 cannot grant relief to any plaintiff who lacks Article III standing. See Challenge v.

14 Moniz, 218 F. Supp. 3d 1171, 1179 (E.D. Wash. 2016) (Rice, J.). Instead, the court

15 “must . . . narrowly tailor[] [the] remedy [to] the specific harm shown” by plaintiffs

16 who have established standing. City & Cnty. of S.F. v. Trump, 897 F.3d 1225, 1244

17 (9th Cir. 2018) (quoting Bresgal v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987));

18 see also Gill v. Whitford, 585 U.S. 48, 73 (2018) (“‘[S]tanding is not dispensed in

19 gross’: A plaintiff’s remedy must be tailored to redress the plaintiff’s particular

20 injury.”) (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006)).

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 1      Here, no Plaintiff other than Washington has met its burden at summary

 2 judgment to prove standing through “affidavit[s] or other evidence.” Arakaki v.

 3 Hawaii, 314 F.3d 1091, 1098 (9th Cir. 2002) (internal quotation marks omitted).

 4 Sixteen Plaintiffs—Arizona, Colorado, Connecticut, Delaware, Illinois, Maine,

            1
 5 Maryland, Michigan, Nevada, New Mexico, Rhode Island, Vermont, Hawaii,

 6 Minnesota, Pennsylvania, and the District of Columbia—offered no evidence

 7 whatsoever on standing, even though it is “an indispensable part of [their] case.”

 8 Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

 9      A seventeenth Plaintiff, Oregon, also failed to carry its standing burden.

10 Oregon “join[ed]” this suit solely “in its capacity as parens patriae,” Am. Compl.

11 ¶ 17, a legally invalid theory that Oregon appropriately abandons. See FDA MSJ

12 12 (citing Murthy v. Missouri, 603 U.S. 43, 76 (2024); Washington v. FDA, 108

13 F.4th 1163, 1177 (9th Cir. 2024)). Instead, Plaintiffs now cite four paragraphs of

14 declarations by persons affiliated with the Oregon Health & Science University

15 (OHSU). Pl. Opp’n 5, 6, 8. However, nowhere in the Amended Complaint did

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17      1
            Although, at the preliminary-injunction phase, Maryland submitted a

18 declaration by a private practitioner, Nelson Decl., ECF No. 62, it established no

19 injury to the State and was not cited in Plaintiffs’ summary-judgment opposition,

20 see Pl. Opp’n 2-9.

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 1 Oregon assert standing based on injuries to that or any other state institution. Am.

 2 Compl. ¶¶ 189-198; see also La Asociacion de Trabajadores de Lake Forest v. City

 3 of Lake Forest, 624 F.3d 1083, 1089 (9th Cir. 2010) (holding that a plaintiff “may

 4 not effectively amend its Complaint by raising a new theory of standing in

 5 response to a motion for summary judgment”). And in any event, none of these

 6 paragraphs establishes any injury to OHSU. Nichols Decl., ECF No. 4-1, ¶ 38

 7 (referring to “burdens and stresses on patients and providers” generally); Colwill

 8 Decl., ECF No. 4-1, ¶¶ 19-20 (purporting to describe REMS requirements and

 9 alleging that they impede patients’ access to mifepristone); id. ¶ 24 (alleging that

10 the REMS can injure patients). Thus, Oregon lacks standing.

11      As for Washington, it has not proven any injury requiring statewide relief. It,

12 too, abandons its parens patriae theory. And its theory based on alleged healthcare

13 costs is too attenuated, speculative, and unsupported to satisfy Article III. See FDA

14 v. Alliance for Hippocratic Medicine, 602 U.S. 367, 390-91 (2024). Contrary to

15 Washington’s assertions (Pl. Opp’n 7), its alleged healthcare costs do not result

16 from “direct” regulation by the REMS. Rather, those costs allegedly result

17 indirectly from patients’ decisions to opt for surgical abortion or remain pregnant.

18 Pl. Opp’n 6 (arguing that patients eschew mifepristone in favor of more expensive

19 options and pass those costs on to the State). And Washington does not identify any

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 1 evidence establishing that the challenged agency action causes more patients to
                                                             2
 2 choose a care option that is more expensive to the State.

 3      At most, the evidence shows an injury to Washington in its capacity as the

 4 operator of UW’s pharmacy, due to the ongoing costs of complying with the

 5 pharmacy certification requirement. See FDA MSJ 14. Thus, Washington lacks

 6 standing to seek any relief beyond what would redress the UW’s alleged injuries.

 7 Gill, 585 U.S. at 73; Cty. & Cnty. of S.F., 897 F.3d at 1244; Bresgal, 843 F.2d at

 8 1170-71.

 9     II. Plaintiffs Failed To Administratively Exhaust Their Claims

10      To evade FDA’s exhaustion argument on futility grounds, Plaintiffs had to

11 show FDA’s position on evidence and arguments not raised during the

12 administrative process “appears already set.” Vasquez-Rodriguez, 7 F.4th at 896

13 (quoting Szonyi, 942 F.3d at 891). Yet the opposition, for example, does not

14

15      2
            Fearing that another court would restore more restrictive REMS

16 requirements, Washington’s declarants anticipated an “increase” in the States’

17 current costs from REMS restrictions. Birch Decl., ECF No. 4-1 ¶¶ 10, 17.

18 Fontinos Decl., ECF No. 4-1 ¶¶ 10, 14, 15. As the future tense makes clear, these

19 statements were about the restrictions Plaintiffs thought would be restored, not the

20 January 2023 REMS modification—which reduced restrictions on mifepristone.

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 1 demonstrate that FDA would have rejected the claim that the Canadian study

 2 provides “objective safety data” that mifepristone is safe without ETASU. As

 3 explained below, FDA did not consider that study, published after FDA decided

 4 what modifications to direct the sponsors to propose. Indeed, the study was never

 5 provided to the agency until after the sponsors submitted their supplemental

 6 applications proposing the more limited modifications directed by FDA.

 7      Plaintiffs respond that FDA could have halted its review of those supplemental

 8 applications and reopened the question of what modifications to request based on

 9 the Canadian study. Pl. Opp’n 13. FDA was not required to do so. See infra pp. 13-

10 14. In any event, whether FDA could have done so is irrelevant for assessing

11 futility: FDA did not consider the Canadian study, and thus its position could not

12 have been “already set.”

13      III.     Plaintiffs’ APA Arguments Are Meritless

14      If the Court reaches the merits, Plaintiffs’ APA claims are unavailing.

15         A. FDA considered all relevant statutory factors
16      As FDA explained, the applicable REMS modification standard is set forth in
17 21 U.S.C. § 355-1(g)(4)(B). See FDA MSJ 18, 26. Plaintiffs accuse FDA of failing

18 to consider other factors, see Pl. Opp’n 14-17, which either were irrelevant or

19 already considered by FDA.

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 1      The § 355-1(a)(1) factors. Plaintiffs err in contending that FDA was required

 2 to consider the six specific factors in 21 U.S.C. § 355-1(a)(1). Pl. Opp’n 14-16.

 3 That provision governs FDA’s initial decision to require the sponsor of a pending

 4 application to propose a REMS. But “[a]fter the approval of a” REMS, the

 5 operative framework is supplied by 21 U.S.C. § 355-1(g)(4)(B), under which FDA

 6 “may” require the sponsor of the drug to “submit a proposed modification” if, as

 7 relevant here, FDA “determines that 1 or more goals or elements should be added,

 8 modified, or removed” to (1) “ensure the benefits of the drug outweigh the risks of

 9 the drug” or (2) “minimize the burden on the health care delivery system of

10 complying with the strategy.” 21 U.S.C. § 355-1(g)(4)(B).

11      On its face, § 355-1(g)(4)(B) neither cross-references nor contains the factors

12 from § 355-1(a)(1). “[W]here Congress includes particular language in one section

13 of a statute but omits it in another section of the same Act, it is generally presumed

14 that Congress acts intentionally and purposely in the disparate inclusion or

15 exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983). Although FDA must

16 make an “assessment” of whether evidence supports departing from the agency’s

17 conclusion that “the drug’s risks require [a] REMS,” Washington v. FDA, 668 F.

18 Supp. 3d 1125, 1140 (E.D. Wash. 2023), in so doing, FDA need not consider

19 factors nowhere mentioned in 21 U.S.C. § 355-1(g)(4)(B).

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 1      Other textual signs also point against reading the subsection (a)(1) factors into

 2 subsection (g)(4)(B). Both the heading to subsection (a)(1) and the only cross-

 3 reference to subsection (a)(1) in § 355-1 describe it as applying to an application

 4 for “initial approval.” See 21 U.S.C. § 355-1(h)(3). Whereas subsection (a)(1)

 5 governs before approval, when the REMS is still “proposed,” id. § 355-1(a)

 6 (emphasis added), subsection (g)(4)(B) applies “[a]fter the approval of a

 7 [REMS],” 21 U.S.C. § 355-1(g)(4)(B) (emphasis added). What is more, Congress

 8 recognizes the distinction between modification decisions and initial approval

 9 decisions by providing different dispute resolution procedures for each. See 21

10 U.S.C. § 355-1(h)(3)-(4). Finally, the factors in subsection (a) are crafted in

11 language that more naturally applies to drugs that have not previously been

12 marketed for a particular use subject to a REMS. FDA MSJ 26-27 (discussing 21

13 U.S.C. § 355-1(a)(1)(A)-(F)).

14      Searching for a way to import the factors from § 355-1(a)(1) into § 355-

15 1(g)(4)(B), Plaintiffs suggest that the phrase “ensure the benefits of the drug

16 outweigh the risks of the drug” (which appears in both provisions) somehow

17 means the six factors in § 355-1(a)(1). Pl. Opp’n 14-15. But ensuring that the

18 benefits of the drug outweigh the risks of the drug is not a REMS-specific concept:

19 FDA always considers drug safety in its approval process. FDA Guidance for

20 Industry, Benefit-Risk Assessment for New Drug and Biological Products (Oct.

21

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 1 2023) (explaining that in determining safety FDA examines whether “the benefits
                                    3
 2 of the drug outweigh its risks”). Congress did not require consideration of the

 3 § 355-1(a)(1) factors in every safety analysis, but just in one specific context: an

 4 initial decision whether to direct a drug sponsor to propose a REMS. Thus, this

 5 case does not implicate (as Plaintiffs contend) a need to give the same statutory

 6 term a consistent meaning throughout the statute, Pl. Opp’n 14; the applicable rule

 7 is that courts should give different statutory language a different meaning. See

 8 Russello, 464 U.S. at 23.

 9      The § 355-1(f) factors. Plaintiffs also go astray when accusing FDA of not

10 considering the safety and burden factors set forth in § 355-1(f). Pl. Opp’n 16-17.

11 FDA made the required statutory findings.

12      The agency can approve a supplemental application modifying a REMS only if

13 the evidence shows the drug will be safe (i.e., the benefits will outweigh the risks)

14 with the modification. 21 U.S.C. §§ 355-1(g)(4)(B), 355(d); 21 C.F.R. §§ 314.1

15 (providing that new drug application requirements apply to supplemental

16 applications), 314.105(c); see also FDA Guidance for Industry, Benefit-Risk

17 Assessment for New Drug and Biological Products (Oct. 2023). Here, FDA found

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19      3
            Available at https://www.fda.gov/media/152544/download (accessed May
20 30, 2025).

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 1 insufficient evidence to demonstrate that mifepristone’s benefits would outweigh

 2 its risks if the REMS with ETASU were eliminated. EAR164, 167, 186. In other

 3 words, the ETASU are “necessary . . . to mitigate” mifepristone’s risks,

 4 mifepristone “can be approved only if, or would be withdrawn unless” ETASU

 5 remained part of the drug’s conditions of approval, and the ETASU are

 6 “commensurate with” mifepristone’s risks. 21 U.S.C. § 355-1(f)(1)(A), (2)(A).

 7 Additionally, the ETASU do not unnecessarily burden patient access, id. § 355-

 8 1(f)(2)(C), (D), since FDA had insufficient evidence to approve the drug without

 9 the ETASU.

10      Harmless error. For the same reason, any failure to consider a relevant

11 statutory factor was harmless. 5 U.S.C. § 706 (“[D]ue account shall be taken of the

12 rule of prejudicial error.”); FDA v. Wages & White Lion Investments, LLC, 145 S.

13 Ct. 898, 930 (2025) (“When it is clear that the agency’s error ‘had no bearing on

14 the procedure used or the substance of [the] decision reached,’ a remand would be

15 pointless.”) (quoting Mass. Trustees of E. Gas & Fuel Assoc. v. United States, 377

16 U.S. 235, 248 (1964)). Plaintiffs brush aside the harmless-error point as “self-

17 serving.” Pl. Opp’n 17. But they never address the crux of the matter: Because

18 FDA found insufficient evidence of safety to eliminate the ETASU, the agency

19 could not approve a supplemental application without the ETASU. 21 U.S.C.

20 § 355(d).

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           B. Plaintiffs identify no relevant record evidence that FDA did not
 1
              reasonably consider
 2       Next, Plaintiffs have not shown that FDA failed to reasonably consider the
 3 relevant record evidence when assessing whether evidence since 2016

 4 demonstrated that the ETASU could be eliminated. EAR159, 162, 166.

 5       The Canadian study. As FDA explained (FDA MSJ 17-18, 31-32), the
 6 Canadian study (EAR238) was not before FDA when it conducted the

 7 comprehensive literature review or directed mifepristone’s sponsors to propose

 8 certain modifications to the REMS. Nor did anyone urge FDA to consider that

 9 study in connection with the decision under review in this case. Instead, the

10 Canadian study was submitted to FDA in October 2022 as part of a citizen petition

11 that requested a different agency action and made arguments outside the scope of

12
     Plaintiffs’ claims. Plaintiffs cite no authority supporting their contention that the
13
     APA nonetheless required FDA sua sponte to pluck the study out of the record in a
14
     different proceeding and consider it here.
15
         Plaintiffs respond that FDA knew about the Canadian study before it approved
16
     the supplemental applications in January 2023. Pl. Opp’n 24. That is beside the
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     point. FDA reasonably imposed a cut-off date for its literature review for
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     administrability purposes. Otherwise, a final decision could be endlessly delayed
19
     while FDA refreshed the literature review to account for new studies published in
20
     the year-long interval between directing sponsors to propose modifications to the
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 1 REMS and approving those modifications. Cf. Vt. Yankee Nuclear Power Corp. v.

 2 Nat. Res. Def. Council, Inc., 435 U.S. 519, 554–55 (1978) (“there would be little

 3 hope that the administrative process could ever be consummated” if an agency

 4 were required to consider any evidence that arrives in the “gap between the time

 5 the record is closed and the time the administrative decision is promulgated”)

 6 (quoting ICC v. Jersey City, 322 U.S. 503, 514 (1944)).

 7      To be sure, FDA reviewed certain materials after the cut-off date when those

 8 materials came to its attention in connection with its review of the proposed

 9 modifications. But, importantly, FDA at that time focused on whether to approve

10 the sponsors’ supplemental applications—not on whether to restart the process and

11 reevaluate whether to request modifications it did not request in December 2021.

12 For example, FDA reviewed materials attached to the November 2022 complaint

13 in Alliance for Hippocratic Medicine v. FDA, 22-cv-223-Z (N.D. Tex.) (now

14 Missouri v. FDA), in which plaintiffs claimed, among other things, that the in-

15 person dispensing requirement remained necessary—an issue that went to FDA’s

16 forthcoming January 2023 REMS Modification. SEAR75-78. The published

17 Canadian study, by contrast, was not cited in any challenge to that forthcoming

18 action.

19      Other evidence. FDA appropriately considered the remaining evidence,

20 focusing primarily on “objective safety data,” FDA MSJ 30-31—that is,

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 1 “publications containing safety data related to the outcomes of medical abortion,”

 2 2021 REMS 001571. Plaintiffs identify no “objective safety data” before the

 3 agency in December 2021 that FDA did not review. Instead, Plaintiffs allege that

 4 FDA failed to consider various advocacy and position statements, “‘stakeholder’

 5 feedback,” surveys, and qualitative studies. Pl. Opp’n 19-22. But as FDA

 6 previously explained, the agency considered the material but generally found it not

 7 informative to the safety analysis. FDA MSJ 34-35; cf. FCC v. Prometheus Radio

 8 Project, 592 U.S. 414, 426 (2021) (“The FCC did not ignore the Free Press studies.

 9 The FCC simply interpreted them differently.”). Plaintiffs respond that “safety is

10 not the only statutorily required consideration in a REMS review.” Pl. Opp’n 19.

11 But since safety is a requirement for approving a modification, see supra pp. 11-

12 12, it was reasonable for FDA to focus on that issue.

13        C. FDA reasonably explained its decision

14      FDA’s decision not to initiate elimination of the ETASU—and its explanation

15 for that decision—was eminently reasonable considering the context. The 2021

16 REMS review occurred against the backdrop of prior determinations that

17 mifepristone’s benefits had not been shown to outweigh its risks without ETASU.

18 Those include FDA’s approval decision in 2000; Congress’s decision in 2007 to

19 “deem” existing restrictions on drugs such as mifepristone to be an approved

20 REMS with ETASU; and FDA’s affirmation in 2011 and 2016 that the

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 1 mifepristone ETASU could not be eliminated.

 2      In 2021, FDA simply addressed whether evidence generated since the 2016

 3 review justified the elimination of all of the ETASU. In a 40-page memorandum,

 4 EAR150-98, FDA explained that the required showing had not been made because

 5 the evidence—primarily “objective safety data”—did not provide the agency with

 6 the assurance it would need to change its baseline assessment and remove all

 7 restrictions. Proceeding ETASU by ETASU, FDA discussed the rationale for its

 8 decision to require pharmacy certification and maintain prescriber certification and

 9 the Patient Agreement Form. See FDA MSJ 18-23.

10      Plaintiffs claim that FDA’s retention of these ETASU must be flawed because

11 Korlym does not have a REMS. Pl. Opp’n 27-28. The comparison is inapt. Korlym

12 is used by patients with Cushing’s syndrome, who are “unlikely to be pregnant.”

13 DEAR22, 28; see generally DEAR16-30. Further, the labeling for Korlym includes

14 the instruction that pregnancy must be excluded before prescribing the drug. That

15 matters because some risks of Mifeprex and its generic—including those relating

16 to heavy bleeding, missed ectopic pregnancy,4 and other issues—arise from use by

17
         4
             Mifepristone does not cause ectopic pregnancy. But a woman with an
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     undiagnosed ectopic pregnancy may take Mifeprex or its generic and believe she
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     has had a successful abortion, when in fact she is experiencing a ruptured ectopic
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 1 pregnant women. Contrary to Plaintiffs’ mischaracterization, FDA did not argue

 2 that abortion is a “serious side-effect or risk” of Mifeprex or its generic. Pl. Opp’n

 3 28.

 4       Plaintiffs provide no support for their suggestion that composition and dosage

 5 are the only factors FDA could consider when comparing Korlym to Mifeprex and

 6 its generic. Based solely on those factors, Plaintiffs argue that if Korlym is not

 7 “‘inherently’ toxic or harmful,” then Mifeprex and its generic cannot be either. Pl.

 8 Opp’n 28. But that misstates the statutory standard. To qualify for a REMS with

 9 ETASU, a drug must have “inherent toxicity or potential harmfulness.” 21 U.S.C.

10 § 355-1(f)(1). Under the rule of the last antecedent, “inherent” modifies “toxicity”

11 and “potential” modifies “harmfulness.” Lockhart v. United States, 577 U.S. 347,

12 351-52 (2016). Thus, a drug may be either “inherently toxic” or “potentially

13 harmful.” There is no requirement that it be “inherently harmful”—or, under

14 Plaintiffs’ awkward construction, “inherently potentially harmful.”

15       Plaintiffs’ remaining arguments (Pl. Opp’n 26-27, 29-33) suffer from the same

16

17 pregnancy, a medical emergency that requires immediate surgical intervention. See

18 2021 REMS 001574 note e (noting that the symptoms of medical abortion

19 (abdominal pain, uterine bleeding) may be similar to those of a ruptured ectopic

20 pregnancy).

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 1 flaw: they incorrectly put the onus on FDA to re-justify the ETASU de novo. See

 2 Pl. Opp’n 26-27 (accusing FDA of “reimpos[ing] ETASU” without “point[ing]” to

 3 “evidence” affirmatively proving that the ETASU are necessary); id. 29-31

 4 (putting the burden on FDA to identify evidence demonstrating the necessity of

 5 prescriber certification); id. 31-32 (same for Patient Agreement Form); id. 32-32

 6 (arguing that FDA’s “flawed decision to reimpose” prescriber certification “cannot

 7 justify” pharmacy certification). But during the 2021 review, FDA was not

 8 required to reexamine all previous REMS decisions (decisions which Plaintiffs do

 9 not challenge). Rather, as FDA reasonably explained for each ETASU, it decided

10 not to depart from prior determinations because objective safety information did

11 not justify doing so.

12      Plaintiffs disagree with FDA’s assessments, but disagreement alone does not

13 suffice to invalidate agency action under the APA. Alaska Cntr. for the Envt. v.

14 West, 157 F.3d 680, 685 (9th Cir. 1998). “It is well-established that FDA’s

15 ‘judgments as to what is required to ascertain the safety and efficacy of drugs fall

16 squarely within the ambit of the FDA’s expertise and merit deference.’”

17 Cumberland Pharm. Inc. v. FDA, 981 F. Supp. 2d 38, 48 (D.D.C. 2013) (quoting

18 Schering Corp. v. FDA, 51 F.3d 390, 399 (3d Cir. 1995)). As the Chief Justice

19 admonished the last time a district court ordered FDA not to enforce a mifepristone

20 ETASU, the “significant deference” due to the agency in this area should make

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 1 courts reluctant to “compel the FDA to alter the regimen for medical abortion.”

 2 FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021)

 3 (Roberts, C.J., concurring in the grant of application for stay).

 4      IV.      No Fifth Amendment Rights Are At Issue

 5      The Fifth Amendment claims fail because States have no Fifth Amendment

 6 rights. South Carolina v. Katzenbach, 383 U.S. 301, 323-24 (1966). Plaintiffs resist

 7 that conclusion, arguing that they “may assert the Fifth Amendment rights of staff

 8 and students at the University of Washington.” Pl. Opp’n 33 (citing Washington v.

 9 Trump, 847 F.3d 1151, 1159-60 (9th Cir. 2017)). But the Amended Complaint

10 makes no reference to the Fifth Amendment rights of staff or students at UW.

11 Moreover, Plaintiffs do not explain how Washington (let alone the other Plaintiffs)

12 satisfy the requirements for third-party standing.

13      Third-party standing “allows a narrow class of litigants to assert the legal rights

14 of others” if the litigants themselves have Article III standing. Alliance for

15 Hippocratic Medicine, 602 U.S. at 393. To fall within that narrow class, a plaintiff

16 must have “a close relationship with the person who possesses the right” and there

17 must be “a hindrance to the possessor’s ability to protect his own interests.”

18 Sessions v. Morales-Santana, 582 U.S. 47, 58 (2017). Besides Washington, no

19 Plaintiff could claim any connection whatsoever, much less a “close relationship,”

20 with the staff and students at UW. And no Plaintiff, including Washington, attempts

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 1 to show those unknown staff and students are hindered from protecting their own

 2 interests. Thus, no Plaintiff can bootstrap its way to a Fifth Amendment claim
                                 5
 3 based on third-party standing.

 4                                       CONCLUSION

 5      For the foregoing reasons, and the reasons set for in FDA’s opening brief, the
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 6 Court should grant Defendants’ Cross-Motion for Summary Judgment.

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 8

 9      5
            In any event, as FDA explained in its opening brief, FDA’s legitimate interest

10 in protecting public health justifies the mifepristone REMS with ETASU.

11      6
            The Court should reject Plaintiffs’ belated request to enjoin hypothetical

12 future agency action. Hill Dermaceuticals, Inc. v. FDA, 709 F.3d 44, 46 n.1 (D.C.

13 Cir. 2013) (holding that relief under the APA is “limited only to vacating the

14 unlawful action, not precluding future agency decisionmaking”). Any such action

15 would be on the basis of an administrative record that does not yet exist. There is

16 no basis on which to assume that Plaintiffs would be likely to succeed on the

17 merits of any challenge to that unknown hypothetical action. If the Court decides

18 injunctive relief is warranted, Defendants request supplemental briefing on scope

19 to ensure that any relief not go beyond redressing UW’s alleged compliance costs.

20 See supra p. 7.

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 1                              CERTIFICATE OF SERVICE

 2      I hereby certify that, on May 30, 2025, I electronically filed the foregoing with

 3 the Clerk of the Court using the CM/ECF system, which will send notification of

 4 such filing to all counsel of record.

 5

 6                                                /s/ Noah T. Katzen
                                                  NOAH T. KATZEN
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